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8
                        IN THE UNITED STATES DISTRICT COURT
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                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA                   )   CASE NO. 1:10-CR-00285 OWW
12                                              )
                  Plaintiff,                    )   PLAINTIFF’S MOTION TO
13                                              )   DISMISS INDICTMENTS AGAINST
                  v.                            )   DEFENDANT FIRM BUILD, INC.,
14                                              )   AND ORDER THEREON
     FIRM BUILD, INC.,                          )
15   JOSEPH M. CUELLAR,                         )
     PATRICK BOWMAN, and                        )
16   RUDOLPH I. BUENDIA, III,                   )
                                                )
17                                              )
                  Defendants.                   )
18                                              )
19
          Plaintiff United States of America hereby moves the Court
20
     for an Order dismissing the Indictment and Superseding Indictment
21
     in this case against corporate defendant Firm Build, Inc., only,
22
     on the grounds that that Firm Build, Inc., is dissolved, defunct,
23
     and insolvent.
24
     DATED:    May 6, 2011                      BENJAMIN B. WAGNER
25                                              United States Attorney
26                                              /s/   Samuel Wong
                                         By:
27                                              SAMUEL WONG
                                                Assistant U.S. Attorney
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1                                       ORDER
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3         The Court having received, read, and considered the motion
4    of plaintiff United States of America to dismiss the Indictment
5    and Superseding Indictment in this case against corporate
6    defendant Firm Build, Inc., only, on the grounds that that Firm
7    Build, Inc., is dissolved, defunct, and insolvent, and good cause
8    appearing therefrom,
9         It is hereby ordered that the motion is granted and that the
10   Indictment and Superseding Indictment in this case against
11   corporate defendant Firm Build, Inc., only are hereby ordered
12   DISMISSED.
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15   IT IS SO ORDERED.
16   Dated: May 7, 2011                     /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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